Case 1:15-cv-02507-JLK Document 51-5 Filed 03/10/17 USDC Colorado Page 1 of 1

Susan E. McNulty

From: Ashley Kelliher

Sent: Friday, November 04, 2016 8:55 AM

To: David Lane; ‘DDickey@klin-law.com’; ‘AMcNulty@kin-law.com’

Ce: Eric Ziporin; Sheileen O'Hayre; ‘Elizabeth Howard"; Steve Michalek; Jamie Akard; Sydney
Wolak

Subject: RE: Schwark v. Wegener- extension for discovery responses

Counsel,

We need some more time for Defendants’ discovery responses. Do you object to a two-week extension, making the
responses due on 11/21? Thanks.

Ashley M. Kelliher

Attorney

Senter Goldfarb & Rice, LLC

3900 East Mexico Avenue, Suite 700
Denver, Colorado 80210

(303) 320-0509 (phone)

(303) 320-0210 (fax)
akelliher@serlle.com

 

The information contained in this electronic message is privileged and confidential. The information is intended only for use of the
person or entity named above. If the reader of this message is not the intended recipient, any dissemination, distribution or copying of
this communication is prohibited. If you have received this communication in error, please immediately notify me by telephone or e-
mail. Thank you.

From: Sydney Wolak [mailto:SWolak@kIn-law.com]

Sent: Tuesday, October 04, 2016 2:16 PM

To: Eric Ziporin <EZiporin@sgrllc.com>; Ashley Kelliher <akelliher@sgrilc.com>; Elizabeth Howard
<ehoward@childsmccune.com>; Steve Michalek <smichalek@childsmccune.com>

Cc: David Lane <DLane@kIin-law.com>; Julian Wolfson <JWolfson@kin-law.com>

Subject: Schwark v. Wegener- Plaintiff's First Set of Written Discovery Requests to Defendants

Counsel:

Attached please find Plaintiff's First Set of Written Discovery Requests to Defendants.

Sydney Wolak | Paralegal

Killmer, Lane & Newman, LLP.

The Odd Fellows Hall

1543 Champa Street, Suite 400

D CO 80202
ves EXHIBIT

 
